Case 3:18-cv-00840-GPC-BGS Document 342 Filed 12/16/20 PageID.8097 Page 1 of 6



   1   SEAN M. REAGAN (Texas Bar No. 24046689)
       (Pro Hac Vice)
   2   sean@reaganfirm.com
   3   THE REAGAN LAW FIRM
       P.O. BOX 79582
   4   Houston, Texas 77279
       Telephone: 888.550.8575
   5
   6
   7
   8                     UNITED STATES DISTRICT COURT
   9                   SOUTHERN DISTRICT OF CALIFORNIA
  10
  11   IN RE:                              Case No. 3:18-cv-840-GPC-BGS

  12   OUTLAW LABORATORY, LP
       LITIGATION                          Outlaw Laboratory, L.P.’s
  13                                       Supplemental Declaration of
                                           Sean Reagan regarding the
  14                                       Court’s March 5, 2020 Order
                                           Granting in Part and Denying
  15                                       in Part Motion to Compel

  16                                       (ECF 177)

  17
  18
  19

 20
  21
  22
  23
  24
  25
  26
  27
  28

                                                          CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 342 Filed 12/16/20 PageID.8098 Page 2 of 6



   1                  Supplemental Declaration of Sean Reagan
   2
            I, Sean Reagan, declare as follows:
   3
       1.   I am the current attorney–of–record for Outlaw Laboratory, L.P. I appeared
   4
            in this matter on or about November 11, 2019. (ECF 134) (Consent Order
   5        Granting Substitution of Attorney).

   6   2.   The facts set forth in this declaration are based on my personal knowledge,
   7
            and they are true and correct.

   8   3.   On March 5, 2020, the Court ordered Outlaw to produce certain documents,
            including: (1) demand letters issued by Outlaw to retail stores; (2) settlement
   9        agreements Outlaw entered into with retail stores; (3) settlement
  10        communications between Outlaw and retail stores; and (4) amounts paid in
            settlement to Outlaw by retail stores.
  11
       4.   On June 23, 2020, I filed a Declaration with the Court regarding Outlaw’s
  12
            attempts to comply with the Court’s March 5, 2020 Order.
  13
       5.   To date, Tauler Smith—despite numerous requests—has yet to provide me
  14        with Outlaw’s complete file, as required by CAL. RULE OF PROF’L CONDUCT
  15
            1.16(e)(1) (“Upon the termination of a representation for any reason … the
            lawyer promptly shall release to the client, at the request of the client, all
  16        client materials and property. Client materials and property includes
            correspondence, pleadings, deposition transcripts, experts’ reports and other
  17        writings, exhibits, and physical evidence, whether in tangible, electronic or
  18        other form, and other items reasonably necessary to the client’s
            representation, whether the client has paid for them or not.”).
  19
       6.   Specifically, Tauler Smith has yet to provide my office with: (1) all email
 20
            communications about settlement it had with other attorneys and parties;
  21        and (2) any demand letters it issued other than a handful that were attached
            to a few settlement agreements.
  22
  23
       7.   To date, Tauler Smith—despite numerous requests—has yet to provide me
            with a complete accounting of all monies that Tauler Smith received and
  24        disbursed during Tauler Smith’s representation of Outlaw, as required by
            CAL. RULE OF PROF’L CONDUCT 1.15 (a lawyer is required to, among other
  25        things, “maintain complete records of all funds, securities, and other
  26        property of a client or other person coming into the possession of the lawyer
            or law firm” and “preserve records of all funds and property held by a lawyer
  27        or law firm under this rule for a period of no less than five years after final
            appropriate distribution of such funds or property.”)
  28

                                                  2         CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 342 Filed 12/16/20 PageID.8099 Page 3 of 6



   1   8.    Outlaw produced all demand letters it has in its possession. It is very likely
             that Tauler Smith has other demand letters, as it was Outlaw’s attorney that
   2
             was responsible for issuing the demand letters.
   3
       9.    For example, Outlaw supplemented its interrogatory answers on June 26,
   4         2020 and October 8, 2020, where Outlaw listed the stores that received
   5         demand letters. Outlaw was able to supplement these interrogatory
             responses based on spreadsheets prepared by Tauler Smith attorneys. In
   6         reviewing the spreadsheets, it appears that: (1) approximately 203 stores in
             Texas received demand letters in December 2017; (2) approximately 2,520
   7         stores in Texas received demand letters between December 2017 and August
   8         2018; (3) approximately 32 stores in Arkansas received demand letters
             between December 2017 and February 2018; (4) approximately 448 stores in
   9         Illinois received demand letters between December 2017 and October 2018;
             (5) approximately 177 stores in Pennsylvania received demand letters
  10
             between February 2018 and May 2018; (6) approximately 228 stores in
  11         Tennessee received demand letters between December 2017 and June 2018;
             and (7) approximately 348 stores in Washington received demand letters
  12         between February 2018 and October 2018. See Exhibit “1,” Outlaw
  13         Laboratory, L.P.’s Fourth Supplemental Responses to The Stores’ Discovery
             Requests.
  14
       10.   Based on my review of spreadsheets provided or prepared by Tauler Smith,
  15         at least 3,000 demand letters were issued. Tauler Smith has not given me
  16         anywhere near 3,000 demand letters.

  17   11.   In reviewing my email correspondence with Robert Tauler, I believe that
             Tauler Smith (and Tauler) is withholding information and documentation.
  18
             For example, on May 1, 2019, Tauler emailed me the following (Outlaw
  19         Laboratory Supp. Prod. 3833) about the Tauler Smith database:
 20
  21
  22
  23
  24
  25
  26
  27
  28

                                                 3              CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 342 Filed 12/16/20 PageID.8100 Page 4 of 6



   1   12.   Likewise, on May 6, 2019, Tauler emailed me the following (Outlaw
             Laboratory Supp. Prod. 3695) and attached one of the spreadsheets
   2
             discussed above, which contained information about the demand letters that
   3         were issued:
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16   13.   On May 31, 2019, Tauler emailed me the following (Outlaw Laboratory Supp.
             Prod. 3704) and mentioned that his firm had “a lot of material” for my
  17
             review:
  18
  19

 20
  21
  22
  23
  24
  25
  26
  27
  28

                                               4             CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 342 Filed 12/16/20 PageID.8101 Page 5 of 6



   1   14.   Later, on June 12, 2019, Tauler emailed me the following (Outlaw Laboratory
             Supp. Prod. 3707) about his firm’s ability to “almost instantly” produce
   2
             information and “customized reports” about the stores Outlaw would pursue
   3         in litigation:
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15   15.   Unsurprisingly, Tauler Smith was able to retrieve information when it was
             requested to do so. Specifically, on June 28, 2019, Tauler Smith was asked to
  16
             provide the total number of “targets” in various states (Outlaw Laboratory
  17         Supp. Prod. 3728). Within days, Tauler Smith was able to access its records
             and send the following email:
  18
  19

 20
  21
  22
  23
  24
  25
  26
  27
  28

                                                5              CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 342 Filed 12/16/20 PageID.8102 Page 6 of 6



   1   16.   Therefore, I believe that Tauler Smith is withholding documents from not
             only its client, but also from the parties in this lawsuit that would be
   2
             responsive to certain discovery requests.
   3
       17.   True and correct copies of the emails referenced above are attached as
   4         Exhibits 2 and 3.
   5
       18.   I declare under the penalty of perjury under the laws of the United States and
   6         the state of California that the foregoing is true and correct to the best of my
             knowledge. Executed on December 16, 2020, in Harris County, Texas.
   7
   8
                                                      By: /s/ Sean Reagan
   9
  10
  11
  12
  13
  14
  15
  16

  17
  18
  19

 20
  21
  22
  23
  24
  25
  26
  27
  28

                                                  6              CASE NO. 3:18-CV-840-GPC-BGS
